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 UNITED STATES DISTRICT COURT                                 EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §            CASE NO. 4:11-cr-223
                                                  §            Judge Crone
 BRANDON CURTIS WILSON (4)                        §
 JERRY LYNN POIRIER (17)                          §

                MEMORANDUM ADOPTING REPORT AND
        RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE
        Came on for consideration the report of the United States Magistrate Judge in this action, this

 matter having been heretofore referred to the United States Magistrate Judge pursuant to 28 U.S.C.
 § 636. On March 23, 2012, the report of the Magistrate Judge was entered containing proposed

 findings of fact and recommendations that Defendant Brandon Wilson’s Speedy Trial Demand and

 Motion for Severance Pursuant to Fed. R. Crim. P. 14 (Dkt. #197) and Defendant Jerry Lynn

 Poirier’s Amended Speedy Trial Demand and Motion for Severance (Dkt. #206) be denied.

        Having received the report of the United States Magistrate Judge, and no objections thereto

 having been timely filed, this Court is of the opinion that the findings and conclusions of the

 Magistrate Judge are correct and adopts the Magistrate Judge’s report as the findings and conclusions

 of the Court. It is accordingly

        ORDERED that Defendant Brandon Wilson’s Speedy Trial Demand and Motion for

 Severance Pursuant to Fed. R. Crim. P. 14 (Dkt. #197) and Defendant Jerry Lynn Poirier’s Amended
        .
 Speedy Trial Demand and Motion for Severance (Dkt. #206) are DENIED.
        SIGNED at Beaumont, Texas, this 7th day of September, 2004.
        SIGNED at Beaumont, Texas, this 1st day of May, 2012.




                                            ________________________________________
                                                        MARCIA A. CRONE
                                                 UNITED STATES DISTRICT JUDGE
